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                                                             U.S. Department of Justice

                                                             United States Attorney
                                                             Southern District of New York
                                                             United States District Courthouse
                                                             300 Quarropas Street
                                                             White Plains, New York 10601


                                                             November 27, 2019

  BY EMAIL AND HAND DELIVERY

  The Honorable Kenneth M. Karas
  United States District Judge
  Southern District of New York
  300 Quarropas Street
  White Plains, New York 10601

              Re:         United States v. Yosef Ziegler
                          19 Mag. 11171

  Dear Judge Karas:

         The Government respectfully requests a stay of the bail order set in this case last night by
  the Honorable Judith C. McCarthy, United States Magistrate Judge, pending resolution of the
  Government's appeal currently before the Court. 1 Oral argument on the appeal has been scheduled
  for Tuesday, December 3 at 11 :00 A.M. The defendant consents to the requested stay. If this is
  acceptable to the Court, the Government requests that the Court "so order" this letter.

          Thank you.

                                                       Respectfully submitted,

                                                       GEOFFREY BERMAN
                                                       United States Attorney




                                                           Courtney Heavey

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                                                           Shiva H. Logarajah
    r1V
S()ORD~-         ·                                         Assistant United States Attorneys
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                              ~                            914-993-1927/1918

                     '
 KENNETH M. KARAS U.S.DJ.
          11/ 'Ji1 / 19
  1 The Magistrate Judge has stayed the defendant's release until bail conditions are met. In main,
  the conditions require the defendant post a $600,000 bond-$500,000 of which must be secured-
  signed by   Rfitt.Af\ti~lly r~g~mrnihle pergong_
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                                                                         Page 2


Cc: Henry E. Mazurek, Esq., Counsel for Defendant
